UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In Re:                                                       Chapter 11

AC I NEPTUNE LLC ,                                           Case No.: 18-20007 (RDD)

                                    Debtor.
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                ORDER GRANTING APPLICATION FOR ALLOWANCE OF
                COMPENSATION AND REIMBURSEMENT OF EXPENSES

                 Upon the Application for Allowance of Interim and Final Compensation and

Reimbursement of Expenses and the Supplemental Application of Shafferman & Feldman LLP

(“S&F”) under 11 U.S.C. §§ 331 and 330 as counsel for AC I Neptune LLC, the debtor and debtor in

possession herein (the “Debtor”) for professional services rendered and expenses incurred from June

25, 2019 through January 14, 2020 (together, the Application”); and no objections to the Application

having been filed; and a hearing having been held before this Court on January 15, 2020 to consider

the Application; and due notice have been given pursuant to Federal Rules of Bankruptcy Procedure

2002(a)(7) and (c)(2); and due consideration having been given to any oral responses thereto at the

hearing; and sufficient cause having been shown therefor, it is hereby

                 ORDERED, that the Application is granted to the extent set forth in Schedules “A”

and “B” hereto.

Dated: White Plains, New York
       January 15, 2020
                                                    /s/Robert D. Drain
                                                    HON. ROBERT D. DRAIN
                                                    UNITED STATES BANKRUPTCY JUDGE




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